 

Case 19-11016 DOC 31 Fi|ecl 03/22/19 Page 1 Of 28

Fill in this information to identify your case:

Debtor 1 (\)\

Firsl Name Middle Name

Debtor 2
(Spouse, if flling) First Name Middls Nams Las\ Name

 

 

United States Bankruptcy Court for lhe: District of

case number \O'\ ’ l\O\\D El Check if this is an

iiiknown) amended filing

 

Official Form 1068um
Summary of Your Assets and Liabilities and Certain Statistical lnformation 12/15

 

 

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. lf you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

m Summarize Your Assets

Your assets
Value of`what you own
1. Schedule A/B.' Property (thcial Form 106A/B)

 

 

 

 

 

1a. Copy line 55, Total_ real estate, from Schedule A/B .......................................................................................................... $
1b. Copy line 62, Total personal property, from Schedule A/B ............................................................................................... $
1c. Copy line 63, Tota| of all property on Schedule A/B ......................................................................................................... $
m Summarize Your Liabilities
Your iiabiiitiesi' y l'

Amount you owe
2. Schedule D.‘ Creditors Who Have C/aims Secured by Property (Ofticial Form 106D)

 

 

 

 

 

2a. Copy the total you listed in Column A, Amount of c/aim, at the bottom of the last page of Part 1 of Schedule D ............ $
3. Schedule E/F.' Creditors Who Have Unsecured C/aims (Official Form 106E/F)

3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ............................................ $

3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F ....................................... + $

Your total liabilities $
Summarize Your lncome and Expenses [

4. Schedule I: Your/ncome (Oft”icia| Form 106|)

Copy your combined monthly income from line 12 of Schedule l ...................................................... t ................................... $
5. Schedule J.' Your Expenses (Ofticia| Form 106J)

Copy your monthly expenses from line 220 of Schedule J .................................................................................................... $

 

 

 

Officia| Form 1068um Summary of Your Assets and Liabilities and Certain Statistica| lnformation page 1 of 2

 

 

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0 M l/\Mi>\/,w Coo\l®i® iQ' mo

First Nams Midi*e Name ' Last Nam

m Answer These Questions for Adminlstrative and Statistical Records

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

cl No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules

WY€S

 

 

7. What kind of debt do you have?

Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
amily, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-99 for statistical purposes. 28 U.S.C. § 159.

n Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
this form to the court with your other schedules.

 

 

8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Ofticial
Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14. $ Z z

 

 

 

 

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

Tota| claim
Fromy Part 4 on Schedule E/F, copy the following:
93. Domestic support obligations (Copy line 6a.) $
9b. Taxes and certain other debts you owe the governmentl (Copy line 6b.) $
9c. Claims for death or personal injury while you were intoxicated. (Copy line 60.) $
9d. Student loans. (Copy line 6f.) $
9e. Obligations arising out of a separation agreement or divorce that you did not report as $
priority claims. (Copy line 69.)
9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) + $

 

99. Total. Add lines 9a through 9f. $ 9

 

 

 

 

 

 

 

Ofticial Form 1068um Summary of Your Assets and Liabilities and Certain Statistical |nformation page 2 of 2

 

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i.~se and this iitir\.g:

 

Debtor2
(Spouse,iti'mg) Frsmame

Un‘rmdSta!eeBankmptcyCountorme:

Casenm:ver P')“(`O\\\D

 

£J Check ii this is an
amended fiiing

 

 

Ofticial Form 106AB
Schedule AI:B: Property » ' ms

tneachcategory, separawiyiistand describe items. l_istan asseton!yonce. nanassetfi\s in morethanoneeotegory, iistthe asset in the
category where you think it.;fits hest. Be as complete and accurate as possible. if two married wople are filing together, both are equaiiy
responsibde for supplying correct information. lt more space is n%ded, attach a separate sheer to this form. on the top of amy additional pages,
write your name and ease number (`rf known). Answer every quewon.

 

 

Part 1: Describe Each Residence, Buiiding, Land, or other Real Esiate You Om or Have an Interest in

 

1. Do you own or have any iegal or equitable interest in any residence, building, land, or similar property?
~'D No. »Go to Part 2.
'D Yes. Where is the propeny?

Whatisthepropeny?oheck'authatappiy. D°M| l H. me , Pm
L_.l Singie-farnilyhome rhemrcumotanysecuredcbimson$cheduie£>:

 

 

 

 

 

 

 

1.1- . .i 1 . CrediiorswhoHaveCla:'msSecuredb}/i-"mpeny.
sa l n jmm!q l l . . a Duplexormulu-mnbwtding
a C°"d°m‘““'m °' °°°Pefa“"e ‘ Current waiue of the Current value or the
mt Manuiaciured or nmbiie home entire properzy? portion you own?
ii Land ' s $
a investment property _
a rma,e Describe the natme of your ownership
say m Z'P C°de a c l , interest (such as iee simpte, tenancy by
the entireties, or a tire estate), if known.
Whohas an interest in the property? Checkme.
a Debtori only
comiy i;i ,oebior 2 oniy
ij Deb¢om and Debto, 2 amy a Check if this is community property

Cl Ai ieasz one or the debtors and zimmer (see 'nm°”°ns)

Other iniorrnation you wish to add about this itern, such as local
property identification number;

 

iiyouownorhavemorethanone,.listhere:

Whatis_thepropeny?ehed<almarappiy. moon 1 l l|. m .ns_.Pm
g Singlefarn§yhome - meamomrtofanysecuredolaimscn$cheduie£i:

 

 

 

 

 

 

 

1.2. ._ . . Cred'rorswhol~!ave{.¥aims&cwedbyl>merty.

S l l , if available, or other _mim g Duplex orrriulti unit buRding
g C°M°"“m"m or "°°Pe""‘me Currem value of the Current value of the
.Q Manutactured or mobiie home entire property? portion you own?
iii Land $ $
g investment property
a T,mesha,e Doscn‘be the nature of your ownership

City state ZlP Code n interest {such as fee simple, tenancy by
‘ omar the entireties, or a life estate), if known.
Whohasariimeresrintheproperty?t:mckone.

. 9 mm 1 may
cm,y a Debtor 2 oth
` g,Debi°\` 1 and D€b*°r 2 °n*y n Checir if this is community property

0 At least one of the debtors and another (S€e iU$FUCE°"S)

other information you wish to add about this item, such as local
property identification number

 

Ofticial Form 106A/B Schedule AIB: Property page 1

 

 

a Q;h munoz the

 

 

 

 

What is the property? checkalithatapply.
C| Single-fanny home

 

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Case number wm

1 KQ/ ll'<>\ 49

Donoideduclsecwedclaimsorexerrmiions.l=ut
meammotanysecuedclaimsoo$d)eduie£):

 

 

 

 

 

 

 

1.3. CredétorsWhoHaveCiaimsSecuredbmepeny,

street mesa ar available or other description CI Dupiex or mun-wm binding
g mm - cooperative Currem value of the Current value of the
n 00 a(::;:; , home entire property? portion you omn?
Cl Land $ $
C] lnvestment property

1 Describe the nature of your ownership
C Slat ZlP Code
ny e a nmeshare interest (such as fee simple, tenancy by

m O*he' the entireties or a life estate), ii icnovm.
Who has an interest in the property? Check one
g Debior ‘1 only

C°“"V Cl Demor 2 amy
ill oebior 1 and Debior 2 amy m Ch¢¢_k ii fhi§ is community prope")'
Cl At least one of the debtors and anomer ($ee mS/‘chms)
other information you wish to yarcch about this item, such as local
property identification number

2. Add the dollar value oi the portion you own for all ot your entries from Part 1, including any entries for pages 3
youhaveatwclmdiorl>art 1.Writethal numberhere. ...................................................................................... -) `
earl 2; Describe Your Vehicles

 

Doyouovm,lease,orhavelegalorequitableimeromin anyvehicles,whethertheyareregisteredornot?lndudeanyveiudes
youewnmarsorneoneelsedrives. liyouleaseavel'ride,alsoreport`rtonScheduieG:ExecutoryContracisandUnexpiredLeases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

_ l o
U Yes
3_1_ Make:

Modei:

Year:

Approximate mileage:

Otheriniormation:

 

 

 

 

ii you own or have more than one, describe here:

3_2, Make:
Model;
Year:
Approxlmate mileage:
Other information:

 

 

 

 

Ofticial Form 106AIB

Who has an interest in the property? check one
Cl Demor 1 only

m Deblor 2 only

Cl Debior 1 and Debior 2 only

n At least one of the debtors and another

DCheckifthisiscommunity property(see
instructions)

Whohasanimerestinthe properly?cneckone.
g Debtorl only

DDebtorzonly

ermmmndoebiorzmy
clAlleasioneoimedebtorsandanolhr-':r

Dcheckiru»'eis¢ommuniry propeny(see
instructions)

Schedule AIB: property

Donotoeductsecwedclaimsorexe\miions.l’ut
theamomloianyser:medclaimson$cheduleD:
Credimswhoi'laveCJaiircsSeouredb)/Propedy.

Current value oi the Current value of the
entire propeny? portion you own?

Donotdeducrsecuredclaimsorexenmloos.Put
treamom!oianysecuredclalmson$ched.ile&

Curront value of the Current value ci the
entire property? portion you ovm?

page 2

mr Q£J)£(L\\m£§§ 1 ;1::6 @gC@J/;Filed 03/22/

3_3_ Make:
Mode|:
Year.
Approximate mileage:
other inforrnation:

 

 

 

 

3.4. Make:
Modei:
Year:
Approximate mileage:
other halormation:

 

 

Whohasanimerestintheproperty?eheckone.

g Debtor 1 only

U Debzor 2 only

C] Demor 1 and Debm 2 only

n At least one of the debtors and another

n Check it this is community property (see
instructions)

Who has an interest in the prwerty? Check one.

U centum only

a Debtor 2 only

0 Debtor 1 and DebtorZ only

m At least one of the debtors and another

a Check if this is community property (see
instructions)

19 Page 5 of _

Case number gram

 

(,{&\é»

Do not deduct secured claims or exermtions. Put
theamoumofanysecwedc|aimson WduleD:
Clecftors Who Have Claims Sewred by Propeny,

Current value of the Current value of the
entire property? portion you own?

Donotdeductsecr.credc|aimsorexerwtions.l’u\
theatricuntofanysewredclaimson$chedweD:
Creditors Who HaveCJaims SecuredbyProperty.

Current value of the Current value of the
entire property? portion you own?

4. Watercrart, aircraft, motor homes, ATV_s and other recreational vehicles, other vehichs, and accessories
z s: Boats, trailers, motors, personal watercraft fishing vessels snownobiles, motorcyde accessories

seas

g Yes

4_1_ Make:
Model:
Year:

Other information:

 

 

 

lt you own or have more than one. list here:

4_2_ Makei

Model;

` Year:
Other information

 

 

 

 

Who has an interest in the property? Check one.

Cloemomonry

Cloeworznmy
erbmrandoetmzmiy

0 At!eastone ofmedebtors and another

n Check it this is community property (see
instructions)

Whohasanimerestinthe property?€heckone.

n Debtor1 only

D Debtor 2 only

Cl Demo¢ 1 and oesz 2 only

0 Atleastoneofmedebtorsand another

n Check if this is community property (see
instmctions)

Donotdeductsecwedclaims orexemptions. Put
themumotanysecuedclaimson$cheduie[):
CredtowswhoHaveClaimsSewrederopeny,

Current value of the Current value or the
entire property? portion you owr\?

Donmdeducteecuredclaimsorexerrptions.l°ut
tl\eamomloianysecmedclaimson$chedule£}:
Cred'torswhoHa\/e C!aims SecumdbyPropeny.

Current value of the Currem value of the
entire property? portion you own?

5. Add the dollar value of the portion you own for all of your armies from Part 2, including any entries for pages
you have attached for Part 2. Write that number here ........................................................................................................................ -)

Official Form 106AIB

Schedule A)'B: Property

page 3

 

Debtor‘l CE§()Q/&w(£i\a\%jjl@@£: §%§®§\1& Filed 03/22/2239$¢3 nunl::b:rgr:»§m Of ¥Q ' ( l O\LA

Part 3.: Describe Vour Personal and Household items

 

 

Doyouownorhaveanylegaloroquitableimerminanyofthefollowing items?

6. Household goods and furnishings
Bramples: lMajor appliances lurniture, Enens, china, kitchenware
o
Cl Yes. oescnbe______.__

7_ Electronics
Examples: Televisions and radios; audio, video, stereo, and digital equipment computers printers, scanners; music
collections; electronic devices including cell phones cameras, media players, games

8. Coliectibles of value

Examples_' Andques and ligurines; paintings, prints, or other artworl<; books, pictures, or other art objects,'
, : starnp. ooin, or baseball card collections other \wllembns, memoralbilia, oollectibl%

g Yes. Describe_...______:

9_ Equipmem tor sports and hobbies

Examples: Sports, photographic exercise, and miner hobby equipment bicycles, pool tables, gottl clubs, skis; canoes
and kayaks; carpentry tools; musical instruments

 

No t
13 Yes_ oescn'be__ ........ j
ro.Firearms
Ex :Pistols, rifles, shotguns, ammunition, and related equipment
g Yes_ Describe ..........
11_Clothes
Examples: Everyday clothes furs, leather ooats, designer wear, shoes, messories
%(es.l)escribe__...._.._; , ~»
Zi®\»ezw@n,\m>¢l\ dowd 15%1/\,5(_\:<3»(*$ 1 _ _, ,
t?_Jewelry
Examples: Everyday jeweiry, costume jewelry, engagement rings, wedding rings, sheirloom jewelry, watches gems,

_ gold, silver
m Yes. Describe__.__._..__

13. Non-iarm animals
Examples: Dogs, cats, birds, horses

m No (
ill Yes_ ooscnbe________

other personal and household items you did not already list, including any health aids you did not list

No
n Yes_ Give specific z
information. _____________ ,' y

15. Add the dollar value of all of your comes from Part 3, including any entries for pages you have attached
for Part 3. Write that nimmer here .................................................................................................................................................... 9

O'mcial Form 106AIB Schedule NB: Proper'ty

Currem value of the
portion you own?

Do not deduct moored claims
or exemptions

 

 

 

page 4

 

 

 

 

NH!\¢

______ mu§imt;;tn\§t“ ___________On~l@lt

Part d:. Desu'ibe ‘Iour Fir\anciai Assets

 

Do you own or have any iegal or equitable interest in any ot the following? Current value of the
portion you own?
Do not deduct secured claims
or exemptions

16. Cas'h

Examples: Money you have in your wallet1 in your home, in a safe deposit box, and on hand when you file your petition

D‘No

g yes ............................. .....…... ..................... Cash._ _______________________ s

 

 

ii 7, Deposits of money
Exemes: Oheclking savings or other financial aooounts; certificates of deposit shares in credit unions brokerage houses,
and other similar insunnims. lt you have multiple accounts with the same institution list each
WNO

g Yies ___________________ lnstitution name:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

17_1_ Checking account $
17.2_ Checking account $
17.3. Savings account 3
17.4. Savings amount 5
17_5_ Cert'a‘icatos of deposit 5
17.6. Other financial amount 5
17_7. Other financial accounts 5
17_8_ Other financial account 3
17.9. Other financial acoomt: 3
1 s. Bonds, mutual wnds, or publicly traded stocks
Examples_' Bond funds, investment accounts with brokerage firms money market accounts
7 `0
m Yes ................. institution or issuer name:
$
5
$
19. lion-publicly traded stock and interests in incorporated and unincorporated businesses including an interest in
an LLC, partnership, and joint venture
§,No Name of emity. % ot ownership:
Yes. carve specific 0% % s
information about Oo/ '
them _____ \ ° %
o% % §

 

Ofticial Form 106NB Schedule AJB: Property page 5

wm (\@@§ §§ 19-§:%\®\`)\ 00 31 Filed 0:>,/22/(1;39Se nm@gi;gof¥§` (\ O\ go

FtsNane

20. Govemment and corporate bonds and other negotiable and non-negotiable instruments

Negov`able insmunents include persmai checks, cashiers' cheoks. promissory notes, and money orders
Non-negotiabie instruments are those you cannot transfer to someone by signing or dew/emg them.

a ¥es. Give specific issuer namet

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

information about
them ....................... 5
$
$
21. Retiremem or pension accounts
§Exa;ples: interests in iRA, ER|SA. Keogh, 401{1<), 403(\)), thnift savings acooums, or other pension or profit-sharing pians
D Yes. usi eadr
amount separateiy. Type of account institution narne:
40100 or senior pian; $
Pension pian: $
\Rm $
Retiremem account $
Keogh: $
Adcitionai account 3
Adzasonal mount $
22. Seourity deposits and prepayments
Yours`hareoiai|unuseddeposiisyouhavemadesomatyou maycominueservice orusefroma company
Examples: Agreernents with iandiords, prepaid rent, public utiiiries (eieotnc, gas, waler), teieoommunications
companies or others
C] Y .......................... meridian name or inciva
meade $
Ga$j s
Heaing oii: s
Security deposit on rental unit 3
Prepaid rent $
Te‘ephone: $
Water: 5
Remed fmnilure: s
Other: s
23. Annuities (A contract ior a periodic payment of money to you. either for iiie or Jor a number or years)
§ No
g Yes .......................... issuer name and description:
$
$
5
Ofncial Form 106A!B Scheduie NB: Propeny page 6

 

wm Q§K m\icn@r§jnj€lin§ elmer n

24.lmerests in an education iRA, in an acco\.rm in a qualified ABLiE program or umler a qualified state tunion program
26 U.S.C. §§ 530(l))(1}, 529A{b), and 529(b)(1),

m Yes ------------------------------------ mention name and description separately name records or any interested u.s.C. § 521 (c):

 

 

 

$
$
25.Trusts, equitable or tutnre interests in property (other than anything listed in line 1), and rights or powers
exercisable for your benefit
No
ij Yes. owe specific '
information about them. 5
26. Patems, copyrigms, trademarks trade secrets, and other intellectual property
Examples: internal domain names, websites, proceeds from royalties and Eoensing agreements
information about them....j ‘ $
27, Licenses, handiises, and other general intangibles
Exanmies Building permits1 exclusive licenses, cooperative association lwldngs, liquor licenses professional licenses
D<~o
Cl Yes. owe specific z
information about them l $
Money or property owed to you? Current value of the
portion you own?
Dc not deduct secured
claims or exemptions
28 Tax refunds owed to you
D ves. owe specific mronnaram § f repeal $
about them, including whether \., »
you already filed the returns f State; $
md the tax years. ~
Loml: $
29. Family support
Examples: Past due or lump sum alimony, spousal supporty child support, maintenance &vcrce settlement property settlement
n ‘(es, Give specific information .............. " iv v
~' § Al'mony. 3
f Maintenarce: $
Supporl: $
D~or' ce settlemem: $
§ Property semement $
30_. Other amounts someone owes you
Examples: `Unpaid wages disBBity insurance payments disability benefits sick pay. vacation pay, workers compensation
§ Social Security benefits unpaid loans you made to someone else
a Yes. Give specific information ............... § j
, 3

Oflicia| Form 106A/B Schedule NB: Pt'oper¥y page 7

am §n\§;t§i:nt;;tnns§ sam mann t

3'1. 'lrnerests in insurance policies
Examples: Health, disabili'ry, or life insurance; health savings account (HSA); credit, homeowners or renter insurance

%

 

 

C| Yes. Name me insurance mean Company name gateway surrender or refund verner
cl each policy and list rts value
$
$
$

 

32.Anyinwrestiinpropenythalisdueyouimmsorneonewhohasdied
llywarerhebeneficiaryofalivingmrshexpeciproceedsfromalite insurancepolicy,orarecurrentlyem'rlledtoreceive
property because someone has lied

l;l Yes. owe specirrc rmerrnanon.............. :' `

33.Claimsawnsithirdparties,whetherornotyouhaveriledalawsuitormadeademand!forpaymmt
Examples:Accidents, employment dispmes, insurance claims, or rigtnstosue

/W!;§
m

Yes. Describe each claim .................... :

34, Otlrer contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights

to oil claims
>%s;

m Yes. Describe each claim ....................

 

35. Any financial assets you did not already list

g Yes. Give specific information ............ § ; s

 

36.AddthedollarvalueofalldymuermiestrmnPan4,indudinganyentrbsfmpagesyouhaveattaohed (§/
for Part 4. Write that number here .......................................... .. -) $

 

 

X l

 

 

/

Part 5f Describe Any Business-Related Property You Own or Have an Interest ln. List any real estate in Part 1 .

 

37. Do you own or have any legal or equitable interest in any business-rem property?

R`No. Go to Part 6.

Yesm Go to line 38.

Currem value of the
portion you own?
Do not deduct seo\.rred claims
or exemptims.
38. Accomrts receivable or commissions you already earned
Cl rio 4 y
El Yes. oeeer'rbe ;
;s
39. Oftice equipmem, furnishings, and supplies

Exampiesc Business-related computers software modems, printers, copiers, tax machines. rugs, telephones, desks, cnairs, electronic devices
n No J,, , . … ……. , , t t , ~e~ , ,, ,_/, , .t t , ,, . r . , ,…_..~……t…, ,,,,,
Cl vest oescnbe,___._, ;$

thcial Form 106AIB Schedule NB: Property t page 8

 

 

wm /\(>‘Q/K WM&HL%\MSB'] Filed OS/ZZ/’lc:en:fe?wehlj Oflg§/ //0{ g

40. Mac!niinary, lix~iures, aquipmem, simplies you use in business, and tools of your 1trade

 

9 NO ,

¥:l Yes. Dascribe.......f 3
41 .`|nventory

m Yes. Desciibe....... ;$

42. interests in partnerships or joint ventures
El m
g Yes‘ Des°ribe """" Name of emity: % of ownership;

 

43. Customer lists, mailing lists, or either compilations
Cl No
n Yes. Do your lists include personally idemifia`hle information (as denned in 11 U.S.C. § 101 (41A})?
g No , … ./ v
Cl Yes. Describe ........ §

44. Any business-related property you did not already list
n No
m Yes. Give specific

 

information

 

 

 

 

€BM$MG\W

 

 

45. Add the dollar value of all of your entries from Part 5, including any armies for pages you have attached s
for Part 5. Write that number here .................................................................................................................................................... -)

 

 

 

   

Describe Any Farm- and Comnercial Fishing-Relaied Property You Ovm or Have an Jnteres’?t ln.
ifyouownorhavean interestinfarmland, limit in Part ‘l.

 

 

Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
‘6>4|0. Go to Part 7`
Cl ¥es. eo io iine 47_

Currem value of the

ponion you own?
Donotdeduotsemred claims
mexemptions.
47. Farm animals
,Exanip|es: Livesiock, poiHliry, farm'raised fish
E;] No
$

Omciai Form 106NB Schedule NB: Property l page 9

___

mi fill l/\Cili,iii“@§ii)?s“ F"ed0312211;,,£;9:.13°1€@~((@1<¢

FlsNane

48. Crops-either growing or harvested

 

 

Cl rio
13 Yes Give specilic
information ............. y j $
49. Fm and fishing equipment impbments, machinery, tixtures, and tools of trade
Cl rio
ci va .......................... '
15
50. Farm and fishing suppliesl chemicals and feed
L'.] §No
, s
51 . Any farrn- and commercial heliing~related property you did not already list
ill No
m Yes. Give specific §
information ............ . i $
52. Add the dollar value of all of your entries from Part 8, including any entries for pages you have attached s
for Part 6. Write that number here ...................................................................................................................................................... 9

 

 

 

Part 72 Describe All Property Vou Own or Have an lmerest in That You Did Not List Above

 

53. Doyou have otherpropertyol any kind you did not already list?
Exampilec: Seasentickets, coimyclubmembership

Cl §es Give specific: $__‘~'“_
§ 5

information ............. v

 

 

54. Add the dollar value of all el your entries from Part 7. Wrne that number here ............... 9 $

 

 

 

List the Totals of Each Part of this Form

 

ss.Parii:Toiaire-.iiesiaie,iinez .............................................................................................................................................................. -) $

56. Part 2: Total vehicles, line 5 $_.:D_

57. Part 3: Total personal and household items, line 15 $ [‘E§| )D

58. Part 4: Total financial assets, line 36 $

59. Part 5: 'Total msineswalmed property, line 45 $ ®
611 Part 6: Total farm- and fishing-related property, line 52 $ ®
61. Part `7: Tota| other properly not listed, line 54 +3 9

62.Totalpersorialproperty.AddlinesSSdiroug261. .................... 3 § §S§ §Copypersonalpropertyiotal'} +$ (Ql§>

 

es.rowioi'aiipmpenyonscheduie us.Aadiine ss+iineez .......................................................................................... s lQ §

 

 

 

Ofllciai Form 106A/B

 

 

 

 

 

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Officia| Form 106D

 

Schedule D: Creditors Who Have Claim’s Secured by.Property 12/15

Be as complete and accurate as possible. lf two married people are nlan together, both are equally responsible for supplying correct
information. ll more space is needed, copy the Additlonal Page, fill lt out, number the entries, and attach lt to this form. On the top of any
additional pages, write your name and case number (lf known).

 

1. Do any creditors have claims secured by your property?
n No. Check this box and submit this form to the court with your other schedules You have nothing else lo report on this form.
Yes. Fill in all of the lnformation below. `

Llsl: All Secured Clalms

 

2. . Lls't all secured .clalms'_. I_l'a,_§credltor'_ha's more than one secured clel'ir\,"llsjt_ the creditor separalaly _
for each clalm.` li more than one creditor has a 'p.artlcu|ar`.claimf,'llst lh'.e"other’credltcrs in Part 2.
As- ' ch a_s possible. list the claims in alphabetical order accordlrig;to;lhe creditors name.f

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Number Slreel ma to t `( v
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city sr le lF code |;] Dlspmed
Who owes the debf? Check one~ N re of llon. Check all that apply.
va:|)ebl°f 1 0“'¥ /§¢agreemenl you made (such as mortgage or secured
n Deblor 2 only car loan)
n Dem°,- 1 and Debt°r 2 only ` m Stalutory lien (such as lex llen. mechanlc's llen)
cl Al least one of lhe debtors and another n Judgm°nl lien from 3 laws""

El other (lncluding a right to arisen
El check iiihls claim mims to a

 

 

 

 

 

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Date debt wet lncurredq Last 4 dlglts of account number 525 __
2'2 v Descrlbe the property that secures the clalm: $ $ _ $
Credilor's Name
Number Streel

 

 

 

As of the date you fllo, the clalm ls: Check all that apply.
cl Conlingent '

 

 

El unliquidated
C|ly Slela ZlP Cor.le n Dlspmed
Wh° °W“ the debt? Check °"9' Nature ot llen. Check all that apply.
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n Debtor 2 only car loan)
L_.l Debi°r 1 and Dem°r 2 only n Statulory lien (such as tax llen. ri_iechanic's lien)
n At least one 01 the debtors and another g Jvdgmehl lien from a lawsuit

El oiiier including a right in oifsei)
El cheek li this claim relates io a

commun|ty debt
Date debt was incurred Last 4 dlgltz of account number __ _

 

 

 

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Ofticial Form 106D Schedule D: Creditors Who Have Claims Secured by Property b page 1 of __

 

 

 

 

 

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m Ll$t All of your N°NPR|°R|TY Ul\$ocurod Clalms '

 

 

3. Do any creditors have nonpriortty unsecured claims against you?

§No. You have nothing to report in this palt. Submit this form to the court with your other schedules.
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4. List ali of your nonprlority unsecured claims in the alphabetical order afl-t creditor who holds each ciaim. llf a` cr d l
nonprlol'ity unsecured claim, list the creditor separately for each ctai`ni. Folr each'clalri'l ilsted, identify what type of claim lt is. ` .
included in Part 1. lt more than one creditor holds a particular ctlairn, list the other creditors in Part 3 if you have more than three
claims fill out the Continuation Pa`ge of Fart 2. ...

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llolllly N W\qq\;'\%/\ \ When was the debt incurred? §_L!"? s

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zlp c°.,, ‘ As of the date you tile, the claim ls: Check all that apply.

 

 

 

 

 

g Contingent

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g Debtor1 only n Disputed

n Debtor 2 only

Cl Deblor 1 and Debtor 2 only _ Type of NONPR|ORITY unsecured ciaim:

n At least one ot the debtors and another n Student loans

n ch.ck " this claim h ¢°,. a commun"y debt n Obligetions arising out ot a separation agreement or divorce

that you did not report as priority claims

l$ fh¢ Clalm $l-|bl¢¢t to °m°f? l Debts to pension or rot`lt~sha pians, and other simila debtsw
¢N° 0ther. Specify

 

 

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ls the claim subject to owen n Debts to pension r profit-short plans. and other similar debts
cl » 03 …Aitsditsoh_to@_
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n Debtor 2 only ~
El Deblor 1 and Debtor 2 only ~ Type of NONPR|OR|TY unsecured ciaim:

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n Student loans

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that you did not report as priority claims
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" t ° °'° '" '" l°°' ° ° Cl noble in pension rom-sharing plans, e`n/d other similar debts

§::s Vtother. specily

 

 

 

Ofticial Form 106E/F Schedule Ele Creditors Who Have Unsecurod Claims page ___ of ____

 

 

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n Debior 1 and Debtor 2 only
n At least one oi the debtors and another

n Check if this claim is for s community debt

is tx claim subject to offset?

cl Yes

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you did not report as priority claims
n check " this claim ls for a communny debt l:l Debts to pension o profit-sharing Yes. and other similar debts
ge claim suble¢i w arisen El owen spe¢iry_{JM__('_M_('Hw
No
n Yes
Ofticial Form 106E/F page _ of

Schedule ElF: Creditors Who Heve Unsecured C|airns

 

 

 

 

 

 

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(it"a:ne°anu;nber I01 l [0“9 ‘ _, y ' F,. amended filing

 

 

Ofticial Form 106E/F

Schedule ElF: Creditors Who Have Unsecured Claims 12/'15

Be as complete and accurate as possible. Use Part 1 for creditors with PRiORiT¥ claims and Part 2 for creditors with NCNPRlORlTY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Aiso list executory contracts on Schedule
A/B: Propeny (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpirled Leases (Offlcial Form 1066). Do not include any
creditors with partially secured claims that are listed in Schedule D: Credltors Who Have Clalms Secured by Properry. lt more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Contlnuatlon Page to this page. On the top of
any additional pages, write your name and case number (if known).

mm All of Your PR|OR|T¥ Unsecured Clalms

 

     

      

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

1. §any creditors have priority unsecured claims against you?
No. Go to Part 2.
.DYes. 2 b v v ,` _ ,.. ,_ ,_ '. ~ .
2. List,a|l of. your priority unsecured claims. ll ab creditor has'lnore' than-one priority unsecured ciaim, list the credith '§ebata!é|¥_f§f'éécii-daim; 'l`=orj:
each claim listed, identify what;type ot claim it- is.» if a claim has both priority and nonpriority amounts. list tha__t claim here 'ar_'id, showth =pn'_ority Ia_"r'id;
l nonpi_i`oiity,.amou`_nts. Asiimuc'h as possibie.'iist the claims in alphabetical order according to= the creditorfs name. _lf you have more " '
-~ unsecured ciaiins. liil,out the Continuation .P.ag_e of Paiti." if more than one creditor holds a particular claim, list the other‘credito`rs
(For an explanation ofl each ty e _`of:cialm, see the instructions for this form in the instruction booklet v ’
. P
2.1
Last4 digits ofaccount number ___ _ ____ _ 5 5 5
Priorny crediiors mm
When was the debt incurred?
Number Sireei
As of the date you flie, the claim is: Check ali that apply.
cliy sale ziP code n C°"""g°"'
Cl unliquidated
Who incurred the debt? Check one. n Dlspmed
cl Debtori only
n Debtor 2 only Type of PR|ORlTY unsecured claim:
g D°M°'1 and D°b'°' 2 °"'y n Domestic support obligations
'At leas' one of the “wa and another n Taxes and cena|n other debts you owe the government
n check if ms °'°'m " f°' ° °°mm"""y d°b' 0 Clalms for death or personal injury while you were
ls the claim subject to offset? 'm°"'°at°d -
n N° |J oiher. specify
0 Yes ' '
2'2 Last 4 digits of account number __ ___ __ _ 3 $ 3
Priority Credltors Name
When was the debt incurrod?
lumber sireoi .
As of the date you flie, the claim is: Check ali that apply.
n Coni|ngent
city sm zip code Ei unliquidated
who incurred cho debi? check one. n mswa
g :e::°'; only Type of PR|OR|TY unsecured clalm:
l’
cl D:b':r 1 ::ZDebwr 2 amy n Domestlc support obligations
n N least one of the debtors and another g Taxes and certain other debts you owe the govemment
n Check if this claim is for a community debt §:::?c;:;;death m persona' injury wh"e you were
is the claim subject to arisen El omor, spooiiy _____*______~_
n No '
n Yes
Ofticial Form 106E/F Schedule ElF: Credltors Who Have Unsecured Clalms page 1 of____

 

 

 

 

 

Case19-11016 DOC 31

senior 1 QAQ/b M‘&&m/ OQ‘LD\\)%

Fint mine moore Nemc ' Lui mm

Your akrole unsecured claims - continuance regs

:l

 

After listing any entries on this page, number them beginning;with z.3,»'foliowfed':by 2.4, andiso torth. y 1

 

 

 

 

 

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Case number inventor ]q’ llo]b

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Last 4 digits of account number _ __ _ _ $ $ $
Fricrity creditors Neme
When was the debt lncurred?
Number Street
As of the date you file, the claim is: Check all that appiy.
n Contingent
city stare zip code El Unllquidaied
El Disputed
Who incurred the debt? Check one.
D Debior 1 only Type of PR|OR|TV unsecured claim:
g :°::°' j °::'Debt 2 U Dcmesiic support obligations
0 Atel mt a nhe;b;my d m n Taxes and certain other debts you owe the government
sas one 0 rs an am er cl Clalms for death or personal injury while you ware
l:l Check if this claim is for a community debt 'm°’°°at°d
n Oiher. Specliy
is the claim subject to offset?
m No
n Yes
Last4 digits of account number __ _ _ _ $ $ $
Priority Crediior's Name
When was the debt lncurred?
Number Stieet
As of the date you file, the claim ls: Check ali that apply.
n Contingent
city stole ziP code |:l unliquidated
n Disputed
Who incurred the debt? Check one.
C| oooioit only Type cr PRloRlTY unsecured claim:
g :::::r: °:::D w 2 n Domeslic support obligations
n At |e rt a f;\e;r b;n,y nd m n Taxes and certain other debts you owe the government
as one o e rs a ana er n Clalms ior death or personal injury while you were
n Check lf this claim is for a community debt '"t°x'°at°d
n Other. Specily
ls the claim subject to offsat?
n No
l;l Yes
` Last 4 digits of account number __ ___ _ _ 5 5 5
Priority Crediiofs Name 4
' When was the debt incurred?
Number Street v
As of the date you fi|e, the claim is: Check all that appty.
m Contingent
city stole zip coco El unliquidated
n Dispuled
Who incurred the debt? Check one.
|:| Debior1 only Type of FR|OR|TY unsecured claim:
g :::t;: °::' Deb 2 n Domestic support obligations
n A l a uh “;r m:nly d th n Taxes and certain other debts you owe the government
t east one o 8 s rs an am er n Claims for death or personal injury while you were
EJ check ii title claim le for a community debt '"‘°’“°a‘°d
Ei oinei. specify
is the claim subject to offset?
n No
n Yes
Ofi'lclal Form 106E/F Schedule ElF: Credltors Who Have Unsecured Clalms page __ of _

 

 

 

 

 

 

Debtor 1

 

Case 19-11016 DOC 31 Fl|ec| 03/22/19 l-’age 25 or 16

1\,

Middh N\vna

LM| lhm¢

case numberwm» 1q' ll M(')

Llst others to Be Notlflod About a Dobt That You Already Llstod

x

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For .
example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parte 1 or
2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Farts 1 or 2, list the
additional creditors here. |f you do not have additional persons to be notified for any debts in Parts 1 or 2, do not_fill out or submit this page.

 

 

 

 

On which entry in Part 1 or Part 2 did you list the original creditor?

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name
Line of (Check one): n Part 1: Creditors with Priority Unsecured Claims
"""'b°' 5‘"'°‘ cl Part 2: Creditors with Nonprion'ty Unsecured Claims
Last 4 digits of account number _ _____ ___ _
' city some ztioda
On which entry in Part 1 or Part 2 did you list the original creditor?
Nam’
Line __ of (Check one): C] Part 1: Creditors with Priority Unsecured Claims
"‘“'“°°' S"°°' El Part 2: Creditore with Nonpriority Unsecured
Claims "
_ Last 4 digits of account number _ ____ ____ _
cay sure zu= com
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): El Part 1: Creditors with Priority Unsecured Claims
N""‘°°' S"°°' Cl Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number _ _ ___ _
cig slate ziP code
On which entry In Part 1 or Part 2 did you list the original creditor?
Neme
Line of (Check one): Cl Part 1: Credltors with Priority Unsecured Claims
N"'"b°' 3"°°* El Pan 2: Credltors with Nonpriority Unsecured
Claims
Last 4 digits of account number __ _ ____ ____
cny slate zlP code
on which entry ln Part ‘l or Part 2 did you list the original credited
Nema ' _ .
Line of (Check one): n Part 1`: Credltors with Priority Unsecured Claims
N"’"°°' S"°°‘ |;l Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number ___ _ _ ___
City Staia ZlP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Nan'\e
Line of (Check one): |:l Part 1: Creditors with Priority Unsecured Claims
N“"'"°' S\'°°* n Part 2: Creditors with Nonprior'rty Unsecured
Claims
Last 4 digits of account number ___ _ _ ___
cny sum ziP code
Nm 0n which entry in Part 1 or Part 2 did you list the original creditor?
Line of (Check one): El Part 1: Creditors with Priority Unsecured Claims
Number S"°et U Part 2: Creditors with Nonpriority Unsecured
Claims »
say wm m code Last 4 digits of account number _ _ ___ __
Ofticial Form 106E/F Schedule E/F: Credltors Who Have Unsecured Claims ' page _ of ___

 

 

 

 

 

 

 

 

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Debtor 1 HONMA.W MM"MJ Qobwf Case number umwa \q ’ \"? \(9

vacuum 'H min-m V

 

m Add the Amounts for Each Type of Unsecured Claim

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
Add the amounts for each type of unsecured claim. '

 

 

 

 

 

' reel claim
. 11 . ' " ', . n .
nw claims 6a Domestic support ob gations 6a s
.f'°m Part 1 6b. Taxes and certain other debts you owe the
government 6b. 3
6c. Claims for death or personal injury while you were -
intoxicated 6c. s
6d. Other. Add all other priority unsecured claims.
Write that amount here. 6d. + s
6e. Total. Add lines 6a through 6d. 6e.
$
'roml claim 1 '~ b
v .".ml dal.m. 6f. Student loans 6f. s
fr°m_ gang ` Sg. Obligations arising out of a separation agreement
t " or divorce that you did not report as priority
claims 69. $

6h. Debts to pension or profit-sharing plans, and other
" similar debts 6h. s

61. Other. Add all other nonpriority unsecured claims. §U (, 6 {
Write that amount here. 6i_ + $ l '

sj. Total. Add lines er through ei. 61. s Lf((¢(, 31 L/{

 

 

 

 

 

 

 

 

 

Ofticial Form 106ElF Schedule ElF: Creditors Who Have Unsecured Claims page _ of

 

 

 

 

 

 

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Fill in this information to identify your case;

',

 

 

 

 

Debtor \ \ " i
‘ \\/liddie Name
Debtor 2
(Spouse |f filing) First Name Middie Name Last Name
United States Bankruptcy Court for the: Dislrict of
Case number \Q / \\ O\\o . . .
(lfknown) \ \ ‘ \ El Check if this ls an

amended filing

 

Officia| Form 1066
Schedule G: Executory Contracts and Unexpired Leases 12/15

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct
information. lf more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

 

 

1. D you have any executory contracts or unexpired leases?
o. Check this box and me this form with the court with your other schedules You have nothing else to report on this form.
n Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B.' Property (Ofi'icial Form 106A/B).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for

example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
unexpired leases.

Person or company with whom you have the contract or lease t y State what the contract or lease is for

 

Name

 

Number Street

 

City State ZlP Code

 

 

Name

 

Number Street

 

y City State ZlP Code
2.3§

 

Name

 

Number Street

 

City State ZlP Code
2.4

Name

 

 

Number Street

 

City State ZlP Code

 

Name

 

Number Street

 

 

City State ZlP Code

Ofticial Form 1066 _ Schedule G: Executory Contracts and Unexpired Leases page 1 of_

 

 

 

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Case number (rrknawm [ g / \ \ U\ \v”

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor 1
First Name M'iddls Name Last Name
For Debtor 1 For Debtor 2 or
y _m.r t t
Copy line 4 here ............................................................................................... ') 4. $ $
5. List all payroll deductions:
5a. Tax, Medicare, and Social Security deductions 5a. $ M $
l
5b. Mandatory contributions for retirement plans 5b. $ $
5c. Vo|untary contributions for retirement plans 50. $ $
5d. Required repayments of retirement fund loans 5d. $ $
5e. insurance 5e. $ $
5f. Domestic support obligations 5f. $ $
59. Union dues 59. $ $
5h. Other deductions. Specify: 5h. + $ + $
6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h. 6. $ / $
7. Calculate total monthly take-home pay. Subtract line 6 from line 4. 7 $ §§ $
8. List all other income regularly received:
8a. Net income from rental property and from operating a business,
profession, or farm
Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total $ /®/ $
monthly net income. 8a.
8b. interest and dividends 8b. $ :®/ $
8c. Fami|y support payments that you, a non-filing spouse, or a dependent
regularly receive
include aiimony, spousal support, child support, maintenance, divorce $ $
settlement, and property settlement 8c.
8d. Unemp|oyment compensation 8d. $ $ '
Se. Social Security 8e. $ $
8f. Other government assistance that you regularly receive /V
include cash assistance and the value (if known) of any non-cash assistance
that you receive, such as food stamps (beneiiis under the Supp|emental
Nutrition Assistance Program) or housing subsidies. /?j
Specify; 8f. $ , $
g 89. Pension or retirement income 89. $ @/ $
§ l
8h. Other monthly income. Specify: 8h. +$ d +$
9. Add ali other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +89 + 8h. 9 $ ‘;z $
§10. Calculate monthly income. Add line 7 + line 9. §§ _ $
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse. 10. $ $ _
11. State all other regular contributions to the expenses that you list in Schedule J.
include contributions from an unmarried partner, members of your household, your dependents» your roommaies, and other
friends or relatives.
Do not include any amounts alreac/ig?|¢€ed in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
specify; 11. + $

 

Ofticial Form 106|

1

 

 

3(/

2. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical lnformation, if ii applies

1 Do ou expect an increase or decrease within the year after you file this form?

No /

n Yes. Explain: |RD/

/\

Schedule i: Your income

12.

 

 

sep

 

 

Combined
monthly income

page 2

 

 

 

, 22

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Fili in this information to identify your case:

Debtor 1 MAJ . wm

mem - . . L..m..... Check if this is:

Debtor 2 _
(spous¢. rming) mims n An amended nlan

' _ n A supplement showing postpetition chapter 13
united States Bankruptcy C<>\m for fhe¢ ___ D'St"°t °f------ expenses as of the following date:
91 ll O\ in

MM/DD/YYYY

 

 

Case number
(lt known)

 

 

Offlcial Form 106J
Schedule J: Your Expenses 12/15

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct

information. it more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

m Describe Your Housahoid

 

with
t y ‘ b
1. is this a joint case? come
’FNQ. Go to line 2. F
n Yes. Does Debtor 2 live in a separate household? §""§”ih

El No
n Yes. Debtor 2 must me Ofticial Form 106J-2, Expenses for Seperate Household of Deblor 2.

’2. Do you have dependents? X_No

 

 

 

 

 

 

 

 

 

Dependent's relationship to
Do not list Debtor 1 and g Ves. Fill out this information for D°bi°f 1 °' D¢bf°' 2
Debtor 2. each dependent ..........................
Do not state the dependents’
names.
3. Do your expenses include n No
expenses of people other than

yourself and your dependents? n Yes

m Estimate Your ongoing Monthly Expenses

;` Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report

expenses as of a date after the bankruptcy ls flied. if this is a supplemental Schedule J, check the box at the top of the form and fill in the
i applicable date.

include expenses paid for with non-cash government assistance if you know the value of
'? such assistance and have included it on Schedule l: Your income (Cfticlai Form 106|.)

4. The rental or home ownership expenses for your residence. include irst mortgage payments and

 

any rent for the ground or iot. l 4.
if not included in line 4:
4a. Real estate taxes 4a.
4b. Property, homeowners or reuters insurance 4b.
' 4c. Home maintenanoe, repair, and upkeep expenses 4c.
4d. Homeowner's association or condominium dues 4d. t
Ofticial Form 106J Schedule J: Your Expenses

 

 

 

 

 

 

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Fill in this information to identify your case: n ~ .¢ j

Debtor 1 .
.vm\,\-v

Debtor2 b l !‘i' ?` ll‘

(Spouse, itflling) Flrs\ Name

 

   
 

»»1"

United States Bankruptcy Court for the: District of 4 f ~ v ll jj ~ . ‘.'» L §
,. " ' ` . t »r‘-
Cesenumber lq’ “ O“`; "§'~r§t-

(if known)
l:l Check ifthis is an

amended filing

 

 

Ofticial Form 106Dec
Declaration About an individual Debtor’s Schedules ims

 

if two married people are filing together, both are equally responsible for supplying correct information.

¥ou must file this form whenever you file bankruptcy schedules or amended schedules. Making e false statement, concealing property, or
lobta|ning money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
_ years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

§ Did you pay or agree to pay someone who is NOT an attorney to help you till out bankruptcy forms?

 

§§
n Yes. ' Name ot person .Attach Bankruptcy Petition Pneparer's Notice, Declamtlon, and
Signature (Ofticlai Form 119).

Under penalty of perjury, i declare that i have read the summary and schedules filed with this declaration and
that they are true and correct. '

X

Signature ot Debtor 2

 

 

Date
MM/ DD l VVVY

 

 

Oficial Form 106Dec Deciaration About an individual Debtor’s Schedules

 

 

 

 

